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      EXHIBIT 101
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                     Subject: Update
                       From: "Tim Cook"
                Received(Date): Thu, 01 Nov 2018 14:47:49 +0000
                          To: <board_of_directors
                          Cc: "Kate Adams"                          >, "Luca Maestri"

                         Date: Thu, 01 Nov 2018 14:47:49 +0000

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               BoD:

               We will report Q4 earnings this afternoon. We beat both our guidance and consensus
               for Q4 but will disappoint with our Q1 guidance. You should expect some pressure in our
               share price.

               Q4 revenues were $62.9B, up 20% YoY, nicely above consensus of $61.6 and also
               above our guidance range of $60-62B. This is our highest growth rate in three years
               and closes out a record year at $265.6B, up $36B YoY. Gross margins were 38.3 vs
               our guidance of 38-38.5% and consensus of 38.3%. EPS was $2.91, up 41% vs
               consensus of $2.78. Results were powered by iPhone, Services, and Wearables. We
               also achieved record all time quarterly Mac revenue.

               Our revenue guidance for Q1 is $89-93B vs consensus of $92.8B and our gross margin
               guidance is 38-38.5% vs consensus of 38.6%. Analysts also estimate a lower tax rate
               (15.8 vs 16.5% guidance), lower OPEX by about $200M, and a lower share count which
               will all need to be reset.

               We will talk about 4 revenue headwinds. First, the opposite launch pattern of our
               highest end phone as compared to last year which positively affects Q4 and pressures
               Q1. As you know, iPhone X launched in Q1 of last year vs iPhone XS in Q4 of this
               year. This places the launch affect and channel fill of our high end iPhone in Q4 instead
               of Q1. This isn’t news but some analysts clearly haven’t considered this. Second,
               foreign exchange will impact us about $2B. Third, we have an unprecedented number
               of new products and some will likely not achieve supply demand balance for several
               weeks or the entire quarter (Series 4, iPad Pro, Airpods). Finally, we are concerned with
               what we are seeing in the emerging markets, particularly Turkey, India, Russia, and
               Brazil.

               We had a great launch event in Brooklyn on Tuesday for MacBook Air, Mac mini, and
               iPad Pro. Special thanks to Andrea for joining us. We will begin shipping all of these
               next week as planned.

               Sales of iPhone XR began last Friday and were muted despite the most positive product
               reviews we’ve had in years. This isn’t an early adopter product like the high end of the




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               line so we didn’t expect the normal launch curve but it is clear we should have done
               more in the lead up to last weekend and are now working to bring much more
               awareness to the product. We have no historical experience to project the demand
               curve for this type of product and therefore have a higher range of potential sales
               outcomes.

               Let me know if you have any questions. Sorry for the late note but we’ve had a few
               things going on.

               Tim

               Sent from my iPad Pro




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